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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

ASHLEY MERARD

        Plaintiff,
                                                       CASE NO.: 6:19-cv-1864-Orl-40LRH
v.

MAGIC BURGERS, LLC
a Foreign Limited Liability Company,

      Defendant.
______________________________/

                               JOINT STIPULATIONS OF FACT

        COMES NOW Plaintiff, ASHLEY MERARD and Defendant, MAGIC BURGERS, LLC

(“Defendant”), by and through undersigned counsel and pursuant to Local Rule 4.15 and hereby

file their Stipulation of Agreed Material Facts in connection with Defendant’s Motion for Partial

Summary Judgment (Doc. 16). Without waving their right to dispute these facts at trial or any

subsequent stage of this litigation, the parties stipulate that the following material facts are deemed

admitted solely for the purposes of Defendant’s Motion for Partial Summary Judgment:

        1.      Prior to employment with Defendant, Plaintiff had a closed trachea tube which was

visible at the front of her neck.

        2.      Plaintiff was employed by Defendant from July 27, 2017 through August 23, 2017.

        3.      Plaintiff had a closed trachea tube throughout her employment with Defendant.

        4.      On May 3, 2018, Plaintiff filed her Charge with the EEOC, alleging that she was

terminated in violation of the ADA and FCRA.

        5.      On July 3, 2019, the EEOC issued its Right to Sue letter stating that 180 days had

passed since the filing of the Charge and that the EEOC is terminating its processing of the Charge.



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         6.       After receiving her Right to Sue Letter, Plaintiff filed her Complaint on September

27, 2019.



 /s/David Barszcz                                       /s/ Abbye E. Alexander
 DAVID BARSZCZ, ESQUIRE                                 ABBYE E. ALEXANDER, ESQUIRE
 LYTLE & BARSZCZ, P.A.                                  Florida Bar No.: 662348
 533 Versailles Drive                                   CHRISTOPHER J. PERINI, ESQUIRE
 Second Floor                                           Florida Bar No.: 0121893
 Maitland, FL 32751                                     301 E. Pine Street, Suite 840
 Phone: 407-622-6544                                    Orlando, Florida 32801
 Facsimile: 407-622-6545                                Tel: (407) 872-6011
 Email: DBarszcz@lblaw.attorney                         Fax: (407) 872-6012
 Attorney for Plaintiff                                 Email: orlandopleadings@kdvlaw.com
                                                        Attorneys for Defendant


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

via CM/ECF or email to: Mary E. Lytle Esq., Lytle & Barszcz, 533 Versailles Drive, 2nd Floor,

Maitland, Florida 32751 at mlytle@lblaw.attorney on this 12th day of February, 2021.

                                                KAUFMAN, DOLOWICH & VOLUCK, LLP

                                                /s/ Abbye E. Alexander_________
                                                ABBYE E. ALEXANDER, ESQUIRE
                                                Florida Bar No.: 662348
                                                CHRISTOHER J. PERINI, ESQUIRE
                                                Florida Bar No.: 0121893
                                                orlandopleadings@kdvlaw.com
                                                301 E Pine Street, Suite 840
                                                Orlando, Florida 32801
                                                Tel: (407) 789-0244
                                                Fax: (888) 502-6353
                                                Attorneys for Defendant.




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